Case 2:07-cr-20246-DML-MKM ECF No. 387, PageID.2684 Filed 05/01/12 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

 GARY TRANELL YOUNG,
                                                           Criminal Case Number 07-20246
                         Petitioner,                       Civil Case Number 08-15289
 v.                                                        Honorable David M. Lawson

 UNITED STATES OF AMERICA,

                   Respondent.
 ______________________________________ /

                   ORDER DENYING CERTIFICATE OF APPEALABILITY

         Petitioner Gary Tranell Young was convicted upon his plea of guilty of violating the

 Controlled Substances Act and sentenced to 240 months in prison. His sentence was reduced later

 to 168 months. He filed a motion under 28 U.S.C. § 2255 to vacate his sentence, contending that

 the prior conviction identified in the penalty enhancement information filed under 21 U.S.C. § 851

 was not a qualifying conviction and his trial counsel was constitutionally ineffective by failing to

 raise and dispute that point at sentencing and by failing to negotiate a better plea agreement for the

 petitioner. On March 27, 2012, the Court denied Young’s motion.

         Pursuant to Rule 11 of the Rules Governing Section 2255 Cases in the United States District

 Courts, which was amended as of December 1, 2009:

         The district court must issue or deny a certificate of appealability when it enters a
         final order adverse to the applicant. . . . If the court issues a certificate, the court must
         state the specific issue or issues that satisfy the showing required by 28 U.S.C.
         § 2253(c)(2). If the court denies a certificate, a party may not appeal the denial but
         may seek a certificate from the court of appeals under Federal Rule of Appellate
         Procedure 22.

 Rule 11(a), Rules Governing Section 2255 Cases in the United States District Courts.

         A certificate of appealability may issue “only if the applicant has made a substantial showing

 of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Courts must either issue a certificate
Case 2:07-cr-20246-DML-MKM ECF No. 387, PageID.2685 Filed 05/01/12 Page 2 of 2




 of appealability indicating which issues satisfy the required showing or provide reasons why such

 a certificate should not issue. 28 U.S.C. § 2253(c)(3); Fed. R. App. P. 22(b); In re Certificates of

 Appealability, 106 F.3d 1306, 1307 (6th Cir. 1997). To receive a certificate of appealability, “a

 petitioner must show that reasonable jurists could debate whether (or, for that matter, agree that) the

 petition should have been resolved in a different manner or that the issues presented were adequate

 to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)

 (internal quotes and citations omitted).

        The Court now concludes that the petitioner has failed to make a substantial showing that

 he was denied his constitutional rights and that reasonable jurists could not debate the correctness

 of the Court’s decision. Therefore, the Court will deny a certificate of appealability.

        Accordingly, it is ORDERED that a certificate of appealability is DENIED.

                                                                     s/David M. Lawson
                                                                     DAVID M. LAWSON
                                                                     United States District Judge

 Dated: May 1, 2012


                                                   PROOF OF SERVICE

                           The undersigned certifies that a copy of the foregoing order was served
                           upon each attorney or party of record herein by electronic means or first
                           class U.S. mail on May 1, 2012.

                                                             s/Deborah R. Tofil
                                                             DEBORAH R. TOFIL




                                                             -2-
